Case 3:13-cv-00331-NJR-DGW Document 107 Filed 05/29/15 Page 1 of 2 Page ID #345


                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS


  PAUL S. MORROW,                           )
                                            )
                      Plaintiff,            )
                                            )
  vs.                                       )   Case No. 13-CV-331-NJR-DGW
                                            )
  AARON HOOD, JAMES CHEATHAM,               )
  SEAN STARKWEATHER, RYAN                   )
  DAVIS, CLINT MAYER, MONICA                )
  GREATHOUSE, AIMEE LANG, and
  UNKNOWN DEFENDANTS,

                      Defendants.

                       JUDGMENT IN A CIVIL ACTION

  DECISION BY THE COURT.
        This matter having come before the Court, and the Court having rendered a
  decision,
        IT IS ORDERED that pursuant to the threshold review Order dated May 3, 2013
  (Doc. 7), Defendants S.A. Godinez, TY J Bates, Michael Atchison, Richard Harrington,
  Summers, C/O Hepp, C/O Hoffman, J Lashbrook, C/O Phelps, Unidentified Grievance
  Officer, Business Office Supervisor, Records Office Supervisor, Mailroom Supervisor
  and Clinical Services Supervisor are DISMISSED without prejudice.
        IT IS FURTHER ORDERED that by Order dated May 29, 2015 (Doc. 106),
  Plaintiff’s claims against Defendants Monica Greathouse, Aaron Hood, James
  Cheatham, Sean Starkweather, Ryan Davis, Clint Mayer, and Aimee Lang are
  DISMISSED without prejudice. This action is DISMISSED in its entirety.
  DATED: May 29, 2015
                                                JUSTINE FLANAGAN, Acting Clerk
                                                By: s/ Deana Brinkley_____________
                                                    Deputy Clerk

                                      Page 1 of 2
Case 3:13-cv-00331-NJR-DGW Document 107 Filed 05/29/15 Page 2 of 2 Page ID #346


  APPROVED: s/ Nancy J. Rosenstengel
             NANCY J. ROSENSTENGEL
             United States District Judge




                                     Page 2 of 2
